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                              UNITED STATES DISTRICT COURT
                                    MASSACHUSETTS


JOHN J. O’BRIEN and
ELIZABETH TAVARES,

              Plaintiffs,
                                                 Case No.19-11433
v.

HON. ROBERT A. MULLIGAN (Ret.),

              Defendant.


                             COMPLAINT AND JURY DEMAND

I. PARTIES

     1. The Plaintiff, JOHN J. O’BRIEN, is an individual who at all times relevant resided
        within the Commonwealth of Massachusetts.

     2. The Plaintiff, ELIZABETH TAVARES, is an individual who at all times relevant
        resided in the Commonwealth of Massachusetts.

     3. The Defendant, HON. ROBERT A. MULLIGAN (RET.), is an individual who at all
        times relevant resided in the Commonwealth of Massachusetts.

II. JURISDICTION

     4. This Honorable Court has subject matter jurisdiction over this matter pursuant to 28
        U.S.C. §1331.

     5. This Honorable Court also has supplemental jurisdiction over this pursuant to 28 U.S.C.
        §1337.

III. VENUE

     6. Venue is proper with this Honorable Court as all parties reside or have a principal place
        of business in the Commonwealth of Massachusetts.




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IV. FACTUAL ALLEGATIONS

         A. John J. O’Brien

    7. Pursuant to M.G.L. c. 276 §98, former Chief Justice of Administration and Management
       (the “CJAM”) of The Massachusetts Trial Court (the “Trial Court”), Hon. John J. Irwin,
       Jr., appointed the Plaintiff, John J. O’Brien (“Mr. O’Brien”), as the Commissioner of
       Probation on December 2, 1997.

    8. In 1993, prior to Mr. O’Brien’s appointment, the Massachusetts Legislature amended §98
       to eliminate the six (6) year term limit for the position of Commissioner, providing the
       Commissioner lifetime tenure in the position.

    9. In 2001, pursuant to M.G.L. c. 276 §83, the Commissioner was given the exclusive
       authority to appoint probation officers within the Probation Department. Pursuant to
       M.G.L. c. 276 §83 and M.G.L. c. 211(b) §8, the CJAM retained the power to reject any
       such appointment if it was not done in accordance with the Trial Court Policies and
       Procedures Manual for the Probation Department. Prior to the passage of M.G.L. c. 276
       §83, the CJAM possessed the exclusive hiring authority of probation officers.

    10. In 2010, during an interview with Commonwealth Magazine, the Defendant, Robert A.
        Mulligan (“Judge Mulligan”), CJAM at the time, acknowledged the lifetime appointment
        of Mr. O’Brien as the Commissioner of Probation, stating that it was a, “unique situation
        in the court system.”

    11. Judge Mulligan was appointed as CJAM on October 1, 2003 and served in that position
        until July 2013.

    12. Shortly after his appointment as CJAM in 2003, Judge Mulligan’s communications and
        relationship with Mr. O’Brien grew increasingly contentious, to the point where Judge
        Mulligan refused to meet in person with Mr. O’Brien to discuss the Probation
        Department, instead sending only written correspondence.

    13. The correspondence between Mr. O’Brien and Judge Mulligan demonstrated that Judge
        Mulligan took issue with Mr. O’Brien about, inter alia, Mr. O’Brien’s communications
        directly with Massachusetts legislators, the Probation Department budget and the
        “transferability”1 of appropriations within the Trial Court, and Mr. O’Brien’s exercise of
        his exclusive appointment authority of probation officers under M.G.L. ch. 276 §83.

    14. In early 2010, Mr. O’Brien learned that Judge Mulligan had asked for Mr. O’Brien’s
        employee file to find something on him.




1
  “Transferability” allowed Mulligan to transfer appropriations in and out of the various Trial Court departments,
including the Probation Department.

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15. The version of M.G.L. c. 276 §98 applicable at the time Mr. O’Brien was Commissioner
    did not provide the CJAM or any other state official the power to terminate Mr. O’Brien.
    In 2012, after the Spotlight Article referenced below, the Massachusetts Legislature
    changed §98 so that the CJAM had the express power to terminate the Commissioner of
    Probation.

   B. Elizabeth Tavares

16. Ms. Tavares was hired by the Massachusetts Department of Probation in 1980 as a
    Probation Officer in the Taunton District Court and was promoted to Assistant Chief
    Probation Officer while working in the Taunton District Court.

17. In 1993, Ms. Tavares was appointed to the position of Chief Probation Officer with
    regional responsibilities. In 1995, Ms. Tavares was appointed Associate Legal Counsel to
    then Commissioner Don Cochran.

18. Shortly after Mr. O’Brien was appointed Commissioner of Probation in 1998, pursuant to
    M.G.L. c. 276 §98, he appointed Ms. Tavares as Deputy Commissioner in charge of the
    Programs Division, responsible for drug testing, community supervision, collaborating
    with the Office of Community Corrections, and the Electronic Monitoring Program.

19. In 2000, pursuant to pursuant to M.G.L. c. 276 §98, Ms. Tavares was appointed to the
    position of Second Deputy Commissioner and in 2008 she was promoted again to First
    Deputy Commissioner.

20. Ms. Tavares employment was governed by the Trial Court Employment Manual and she
    could only be terminated from her employment for cause.

21. While Ms. Tavares was working in the Probation Department, she worked on the
    Fugitive Safe Surrender Program involving the Boston Municipal Court, where Judge
    Charles Johnson was the Chief Justice. As part of the program, Ms. Tavares had several
    meetings with Judge Johnson.

22. After one of their meetings, Judge Johnson asked Ms. Tavares to stay and he discussed
    with her how Judge Mulligan and Judge Marshall were working in tandem to remove
    John O’Brien, Ms. Tavares, Francis Wall, and Steven Price from the Probation
    Department. Judge Johnson described Judge Mulligan’s disdain for Mr. O’Brien. He
    described that, as a result, Ms. Tavares, Mr. Wall, and Mr. Price (Mr. O’Brien’s closest
    advisors) would be collateral damage.

23. Judge Johnson also described for Ms. Tavares how the issue of patronage hiring
    throughout the Trial Court was a regular topic at Chief Justice meetings, attended by
    Judge Mulligan. Judge Johnson communicated that Judge Mulligan was well aware of the
    issue of patronage hiring throughout Massachusetts government and did nothing about it
    until he were able to use the issue to oust Mr. O’Brien.

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   C. The Boston Globe Spotlight Article.

24. On Sunday May 23, 2010, The Boston Sunday Globe published a Spotlight Report titled
    “Agency Where Patronage Is Job One” (“the Spotlight Article”).

25. The overall theme of the Spotlight Article was that Mr. O’Brien engaged in patronage
    during the hiring of Probation Department employees, specifically hiring and promoting
    individuals based on recommendations of politicians over other individuals that the
    Spotlight Article deemed more qualified.

26. The Spotlight Article described in detail the interpersonal issues between Judge Mulligan
    and Mr. O’Brien, including the Commissioner’s exclusive hiring authority, the Probation
    Department budget, and O’Brien’s communications with state legislators - - the same
    issues that Judge Mulligan had raised in his written correspondence with Mr. O’Brien.

27. The Spotlight Article also described in detail the theft of two (2) million dollars from the
    Lawrence District Court, despite the fact that the Probation Department had no control
    over, access to, or responsibility for monies kept in any Massachusetts courthouses.

28. Judge Mulligan knew the Probation Department had no control over, access to, or
    responsibility for monies kept in any of the courthouses yet provided a quote in the
    Spotlight Article on that issue, stating, “there was absolutely no oversight”, referring to
    the Probation Department.

29. Prior to the release of the Spotlight Article, in a meeting between Judge Mulligan,
    Speaker of the Massachusetts House of Representative, Robert DeLeo, and DeLeo aide
    Lenny Mirasolo, Judge Mulligan instructed those in attendance to stay away from Mr.
    O’Brien because ,“this Lawrence thing is going to get him”, referring to the two (2)
    million dollars stolen from the Lawrence District Court.

30. The day after the Spotlight Article, Monday May 24, 2010, Mr. O’Brien arrived at work
    and was given a letter from Judge Mulligan immediately suspending him from the
    position of Commissioner of Probation, specifically citing the Spotlight Article from the
    previous day as the sole reason for the suspension.

31. The letter that Judge Mulligan gave to Mr. O’Brien regarding his suspension states,
    “Please be assured that you will be provided the opportunity to present your case and
    respond to issues raised by the Special Master and Commissioner’s review.”

32. Judge Mulligan and Judge Margaret Marshall (“Judge Marshall”) of the Supreme Judicial
    Court of Massachusetts (“SJC”) issued a joint statement on May 24, 2010, the day after
    release of the Spotlight Article, in which they stated that the SJC, in conjunction with
    Judge Mulligan, had hired Attorney Paul Ware as Independent Counsel to investigate the
    Probation Department.


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33. Attorney Ware was a former federal prosecutor with experience investigating high-profile
    criminal matters, including the Boston Central Artery tunnel collapse and the Iran-Contra
    scandal, two matters specifically referenced in the SJC’s description of Attorney Ware’s
    prior investigative experience.

34. Judge Mulligan was not acting in response to the Spotlight Article. Judge Mulligan, in a
    June 2010 interview with Commonwealth Magazine, admitted that he, Judge Marshall,
    the Boston Globe, and Attorney Ware were in contact prior to the release of the Spotlight
    Article.

35. The fact that criminal proceedings against Mr. O’Brien were being discussed amongst
    Judge Marshall, Judge Mulligan, and Attorney Ware was confirmed by Attorney Ware
    when he stated, during a Boston Globe interview on May 25, 2010, that he would be
    looking into whether, “civil or criminal action is warranted.”

36. The Spotlight Article, about patronage hiring within a state agency, was less than a day
    old and Judge Mulligan, Judge Marshall, and Attorney Ware had already launched a
    criminal investigation of Mr. O’Brien and the Probation Department.

37. In the brief twenty-four (24) hour period between the Sunday Spotlight Article and when
    Mr. O’Brien arrived at work the following day, (1) Judge Mulligan had drafted and then
    delivered the letter of suspension to Mr. O’Brien, (2) the SJC had opened a judicial
    administration case, (3) a joint statement by Judge Mulligan and Judge Marshall was
    issued to the public, (4) the SJC issued an Order signed by all the SJC justices selecting
    Attorney Paul Ware as Independent Counsel, (5) and Mr. O’Brien’s successor, Ronald
    Corbett, was named as Acting Commissioner.

38. Mr. O’Brien learned from the Human Resources Department of the Trial Court that Judge
    Mulligan’s suspension letter to Mr. O’Brien was drafted on Friday May 22nd, two days
    before the release of the Spotlight Article.

39. Judge Marshall’s late husband was a columnist and editor for decades at the New York
    Times, which at the time of the Spotlight Article owned the Boston Globe.

40. In a May 26, 2010 Boston Globe article following the Spotlight Article, State Senator
    Cynthia Creem, co-chair of the Senate Judiciary Committee was asked about possible
    changes to M.G.L. ch. 276 s. 98, the statute under which Mr. O’Brien was appointed
    commissioner, and Senator Creem responded, “We saw somebody with a lifetime
    appointment and no accountability”.




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         D. The Ware Investigation


    41. Judge Mulligan’s complaints contained in his written correspondence with Mr. O’Brien
        mirrored the allegations found in the Spotlight Article, i.e. Mr. O’Brien communicating
        directly with Massachusetts legislators, the Probation Department budget and
        “transferability”2 of appropriations within the Massachusetts Trial Court, and O’Brien’s
        exercise of his exclusive appointment authority of probation officers under M.G.L. ch.
        276 §83.

    42. Judge Mulligan’s dislike for Mr. O’Brien stemmed, not from a disagreement over Trial
        Court administration, but his disapproval of Mr. O’Brien’s 2003 lawsuit against the Trial
        Court after former Judge Peter Anderson placed Mr. O’Brien in jail over his
        interpretation about drug testing of criminal defendants. After the lawsuit, Judge
        Mulligan viewed Mr. O’Brien from an adversarial perspective.

    43. Meetings between Judge Mulligan and Mr. O’Brien weredifficult and uncomfortable. On
        occasion, Judge Mulligan attacked Mr. O’Brien’s attitude and personality, exhibiting his
        personal dislike of Mr. O’Brien.

    44. Judge Mulligan discussed with other Trial Court employees about working with Mr.
        O’Brien given his lifetime appointment. However, Judge Mulligan responded that the
        suggestion was not an approach that would work with Mr. O’Brien.

    45. A key confidant that Judge Mulligan discussed his difficulties dealing with O’Brien was
        Judge Marshall.

    46. Judge Mulligan utilized the only way to resolve the allegations contained in the Spotlight
        Article regarding Probation hiring against Mr. O’Brien in an attempt to return the
        appointing authority back to the CJAM, in other words, back to Judge Mulligan.

    47. Pursuant to the Trial Court Policies and Procedures Manual, for any punishment beyond a
        written reprimand, Trial Court management employees are required to receive notice of
        the disciplinary charges being brought against them and are entitled to a hearing where
        the charges can be discussed with the employee and the employee is provided an
        opportunity to respond. The employee in these circumstances also has a right to appeal an
        adverse hearing decision to the Advisory Committee on Personnel Standards.

    48. With respect to Attorney Ware’s recommendation about criminal charges in his report,
        his first recommendation was federal charges against Mr. O’Brien and his deputies.

    49. The Ware Report did more than refer the issue of patronage hiring at the Probation
        Department to the U.S. Attorney’s Office. Attorney Ware provided a detailed legal

2
  “Transferability” allowed Mulligan to transfer appropriations in and out of the various Trial Court departments,
including the Probation Department.

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   analysis in his report, comparing the allegations against Mr. O’Brien and Ms. Tavares
   with a recent 7th Circuit Chicago federal case involving patronage hiring. Attorney
   Ware’s analysis and reliance on the single case ignored the established case law, as cited
   by the 1st Circuit Court of Appeals and available to Attorney Ware, that the Defendants’
   conduct was not a federal crime.

50. Following the release of the Ware Report, Judge Mulligan notified Mr. O’Brien that a
    disciplinary hearing, over which Judge Mulligan would preside, would be held.

51. Mr. O’Brien’s counsel requested but was denied access to the complete Ware Report with
    exhibits that formed the basis for the hearing.

52. Mr. O’Brien’s counsel asked that Judge Mulligan recuse himself from the hearing on
    account of his admitted animus towards Mr. O’Brien. Despite the fact that Judge
    Mulligan had previously testified that he was in a “constant battle” with Mr. O’Brien,
    who he openly described as “unprofessional” and “distasteful”, Judge Mulligan refused to
    recuse himself.

53. On November 18, 2010, prior to any disciplinary hearing being afforded to Mr. O’Brien,
    the SJC released the following statement:

                  The CJAM [Judge Mulligan] has informed the
                  Justices that he will immediately commence
                  proceedings to terminate Commissioner of
                  Probation John J. O’Brien and that, acting in
                  concert with the Acting Commissioner, he will
                  immediately place on administrative leave First
                  Deputy Commissioner Elizabeth V. Tavares,
                  Deputy Commissioner Francis M. Wall, and Legal
                  Counsel Christopher Bulger pending the
                  conclusion of disciplinary hearings, and that
                  proceedings to discipline each of them, which
                  discipline could include termination, will
                  commence immediately. (Emphasis Added).

54. According to the representations of Judge Mulligan to the SJC as reflected in the above
    statement, Judge Mulligan had already decided to terminate Mr. O’Brien as of November
    18, 2010 and before he afforded Mr. O’Brien the disciplinary hearing or the Advisory
    Committee appeal to which he was entitled.

55. The November 18, 2010 statement from the SJC stated that, for Mr. O’Brien, proceedings
    were being commenced to terminate him. However, for Ms. Tavares, Mr. Wall and Mr.
    Bulger, they could be terminated but only after a disciplinary hearing. This establishes
    that Mr. O’Brien was being treated differently than any other Trial Court employees,
    including his own deputies, and in violation of M.G.L. ch. 276 §98.


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56. As a result of Judge Mulligan’s refusal to recuse himself from the disciplinary hearing
    despite his well-established bias against Mr. O’Brien, and his statement to the SJC that
    Mr. O’Brien was being terminated prior to any hearing taking place, Mr. O’Brien
    resigned from his position as Commissioner of Probation, effective December 31, 2010.

57. Following the release of the Ware Report in November of 2010, Acting Probation
    Commissioner Ronald Corbett placed Ms. Tavares on administrative leave for her alleged
    role in the patronage hiring within the Probation Department. A disciplinary hearing was
    scheduled for January 19, 2011.

58. Prior to the hearing, Ms. Tavares’ then counsel, David R. Kerrigan, requested that the
    hearing be postponed indefinitely to await the results of the investigations being
    performed by the Office of the Massachusetts Attorney General and the Boston U.S.
    Attorney’s Office. Doing so would have permitted Ms. Tavares the opportunity to
    provide a proper defense to the disciplinary changes.

59. Attorney Kerrigan also asked the Trial Court for a complete set of transcripts and exhibits
    generated during Paul Ware’s investigation of the Probation Department.

60. Counsel for the Trial Court refused to provide Ms. Tavares with the requested
    information prior to the hearing and refused to postpone the hearing. Ms. Tavares also
    requested access to certain trial court employees and to have them appear at the hearing
    as part of her defense. Counsel for the Trial Court also denied this request.

61. Ms. Tavares requested a description from the Trial Court of how the disciplinary hearing
    would be conducted, the evidence that would be presented, and the identity of any
    witnesses that would be called to testify against her. She was also denied this
    information.

62. The only response that Ms. Tavares received from the Trial Court, through counsel Dan
    Sullivan, was that if Ms. Tavares appeared at the disciplinary hearing, she would be
    terminated.

63. Rather than appear at a closed-door disciplinary hearing in which she was denied a
    description of the charges against her, denied access to information necessary for her to
    respond to the charges and offer a defense at the hearing, and denied any information
    regarding how hearing was going to be conducted, Ms. Tavares resigned from her
    position.
   E. Judge Mulligan’s Patronage Hiring
64. Estela Cordeiro, an administrative assistant in the Office of Court Management,
    submitted an affidavit during the federal criminal trial of Mr. O’Brien and Ms. Tavares
    (the “Cordeiro Affidavit”).


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65. The Cordeiro Affidavit described how, as part of her position, she maintained the
    database of all applicants for hire as court officers and associate court officers. The
    Cordeiro Affidavit described how the head of Court Security, Thomas Connolly, would
    provide her a list of candidates that indicated whether the applicant came from then
    Speaker of the House Sal DiMasi or then Senate President Robert Travaglini. The
    Cordeiro Affidavit described how Ms. Cordeiro asked Mr. Connolly where these lists
    came from and he told her Judge Mulligan’s office.

66. For example, Judge Mulligan promoted SJC Judge Margaret Botsford’s son-in-law to a
    court officer position in Dedham District Court in 2008 within days of Judge Botsfold
    voting for Judge Mulligan’s re-appointment as CJAM. After Judge Mulligan received an
    anonymous letter questioning the timing of the promotion, he immediately rescinded the
    promotion, claiming it was not patronage.

67. When Judge Mulligan was garnering favor with politicians and state judges using court
    officer jobs; when he was speaking to the Boston Globe regarding Mr. O’Brien’s
    patronage hiring; when he was drafting and delivering the letter of suspension to Mr.
    O’Brien; when he was communicating with the SJC regarding the Spotlight Article and
    taking action against Mr. O’Brien; when he was formulating and issuing the joint
    statement with Judge Marshall to the public; when he was naming a successor, Ronald
    Corbett, as Acting Commissioner; when he told the SJC on November 24, 2010 that he
    was terminating Mr. O’Brien without any hearing having been held - - Judge Mulligan
    knew at all of these times that he had also been engaging in widespread patronage, the
    same allegation he was making against Mr. O’Brien.

68. Judge Mulligan’s continued patronage hiring of court officers in the Trial Court, without
    any discipline or reprimand, confirms that the communications among the Boston Globe,
    Judge Mulligan, and Paul Ware before and after the Spotlight Article were not intended
    to eradicate patronage hiring, they were meant to eradicate Mr. O’Brien and his deputies.


69. The November 18, 2010 statement from the SJC referenced above also stated that the
    Court was referring the findings of the Ware Report, an investigation into patronage
    hiring practices within in a state agency, to the U.S. Attorney’s Office.

70. As set forth above, raising criminal charges against Mr. O’Brien and his deputies (but no
    other Trial Court or other state employees) for patronage hiring was being discussed by
    the Defendants, the SJC, and Attorney Ware (1) before the Spotlight Article, (2) in the
    days after the release of the Spotlight Article, (3) by Judge Mulligan and the SJC in
    November 2010 following the release of the Ware Report, and (4) and up until the
    Plaintiffs’ indictment by the U.S. Attorney’s Office.


71. On March 22, 2012, Mr. O’Brien, Ms. Tavares, and Deputy Commissioner William
    Burke were indicted in federal court for RICO conspiracy, Racketeering, and Mail Fraud
    related to the patronage hiring that was first described in the Spotlight Article.


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72. On July 24, 2014, Mr. O’Brien, Ms. Tavares, and Mr. Burke were convicted of mail
    fraud, racketeering, and conspiracy to engage in racketeering.

73. On November 13, 2014, Mr. O’Brien was sentenced to eighteen (18) months and Ms.
    Tavares three (3) months in federal prison. They were each also fined $10,000.00. Mr.
    Burke received one (1) year of probation.

74. On December 19, 2016, Mr. O’Brien, Ms. Tavares, and Mr. Burke’s convictions were
    overturned by the U.S. 1st Circuit Court of Appeals, with the Court stating in its opinion,
    “the Government overstepped its bounds in using federal criminal statutes to police the
    hiring practices of these Massachusetts state officials and did not provide sufficient
    evidence to a establish a criminal violation of Massachusetts law…”.



                               COUNT I – 42 U.S.C. §1983
                                EQUAL PROTECTION

75. The Plaintiffs repeat, reallege, and incorporate by reference the allegations contained in
    the above paragraphs as if expressly set forth herein.

76. Equal protection claims under §1983 can be brought by a “class of one” where the
    plaintiff can demonstrate that he has been intentionally treated different from other
    similarly situated persons, that no rational basis exists for the difference in treatment, and
    that the difference in treatment was based on a malicious or bad faith intent to cause harm
    to the plaintiff.

77. Mr. O’Brien, by statute, was provided lifetime employment as the Commissioner of
    Probation and, therefore, was not an at-will employee, had a clear expectation of
    continuity in his employment, and had a property interest in the position.

78. The Defendant, Judge Mulligan knew of Mr. O’Brien’s lifetime employment because
    when Commonwealth Magazine asked him about it, he responded that it was a “unique
    situation in the court system.”

79. The co-chair of the Massachusetts Senate Judiciary Committee described to the Boston
    Globe how the Senate saw Mr. O’Brien as having a “lifetime appointment” under M.G.L.
    ch. 276 s. 98.

80. Ms. Tavares was appointed as Deputy Commissioner of Probation by statute and could
    only be removed from the position for cause pursuant to the applicable Trial Court
    Policies and Procedures Manual and as a result was not an at-will employee, had a clear
    expectation of continuity in her employment, and had a property interest in the position.




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81. The conduct of the Defendant, as set forth in detail above, was all done under the color of
    law and done within his position as the CJAM. Such conduct deprived the Plaintiffs of
    their right to equal protection under the law.

82. The Defendant intentionally treated Mr. O’Brien and his deputies differently than any
    other Trial Court employee or Commonwealth of Massachusetts employee when he
    communicated with the Boston Globe about the Spotlight Articles prior to its release
    about patronage hiring in the Probation Department; suspended only Mr. O’Brien and his
    immediate deputies, for patronage hiring that was common practice in Massachusetts;
    and when he worked with the SJC to appoint Independent Counsel Paul Ware to
    investigate criminal charges against Mr. O’Brien and his deputies but did not take any
    action against any other Trial Court hiring authorities, including the Defendant Judge
    Mulligan himself, for patronage hiring. The Ware Report, initiated by the Defendant,
    which targeted only Mr. O’Brien and his deputies, led directly to the federal indictment
    and wrongful conviction of the Plaintiffs.


83. There was no rational basis for the different treatment that the Defendant gave to Mr.
    O’Brien and Ms. Tavares compared to other state employees, as shown by the fact that
    the Defendant, Judge Mulligan, and other Trial Court hiring authorities, also engaged in
    widespread patronage hiring but the Defendant did not investigate, suspend or otherwise
    discipline any other Trial Court employees, including the Defendant, Judge Mulligan.
    The Defendant’s conduct as set forth above establishes the basis for the conduct was not
    to eradicate patronage or some other effort to reform the Trial Court. The Defendant’s
    intention was to eradicate Mr. O’Brien and his deputies, and only them, from the Trial
    Court in violation of their right to equal protection under the law.

84. The Defendant’s treatment of Mr. O’Brien and Ms. Tavares was due to a malicious and
    bad faith intent to have only their employment terminated due to the Defendant’s deep
    personal animous toward Mr. O’Brien; to cause them harm via criminal charges and
    penalties; to have Mr. Corbett appointed as Acting Commissioner; and to have the power
    over the appointment authority for Probation Department employees returned to the
    CJAM, which Judge Mulligan admitted was his solution to the allegations against Mr.
    O’Brien.


85. The Defendant’s malicious and bad faith intent is further shown by, inter alia (1) Judge
    Johnson’s statement that Judge Mulligan intended to oust Mr. O’Brien from the
    Probation Department and was going to use patronage hiring as the basis for it; (2) the
    Defendant knowing that many other hiring authorities, including Defendant Judge
    Mulligan himself, engaged in patronage hiring but they only acted against Mr. O’Brien
    and his deputies; (3) the Defendant’s use of the Boston Globe to target Mr. O’Brien and
    his deputies; (4) the Defendant initially claiming that their suspension of Mr. O’Brien and
    referral to a criminal investigation by Independent Counsel Ware was in response to the
    Spotlight Article when, in fact, the Defendant was admittedly working with the Boston
    Globe and Independent Counsel Paul Ware prior to the release of the Spotlight Article to


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   target Mr. O’Brien’s office; and (5) the Defendant stating publicly that Mr. O’Brien
   would be terminated before his disciplinary hearing was held.

86. The Defendant’s decision to only target Mr. O’Brien and his deputies for patronage
    hiring was a gross abuse of power and a fundamentally unfair procedure, as shown by the
    well-known and prevalent patronage hiring throughout the Commonwealth of
    Massachusetts and the Trial Court and the fact the Defendant, Judge Mulligan, himself
    engaged in the same patronage hiring as Mr. O’Brien, but only Mr. O’Brien and his
    deputies were targeted for suspension and termination. The unfairness of the procedure is
    also shown by the Defendant depriving Mr. O’Brien of a disciplinary hearing prior to
    deciding he would be terminated.

87. No other employee in the history of the Commonwealth of Massachusetts has been
    subjected to the treatment that the Defendant initiated against the Plaintiffs for hiring
    practices within a state agency, treatment that culminated in the now overturned federal
    conviction of the Plaintiffs. The Defendant targeted Mr. O’Brien and his deputies despite
    knowing that virtually all state employees and state agencies, including the Defendant,
    Judge Mulligan, were similarly situated as the Plaintiffs, all conducting patronage hiring
    for politicians and other state officials, but none were disciplined.

88. The Defendant, as a result of their conduct described above, has shown a reckless or
    callous indifference to the federally protected rights of the Plaintiffs.


89. The Plaintiffs have suffered monetary and emotional damages, impairment of reputation,
    humiliation, and mental anguish as a result of the Defendants conduct as described above,
    which caused their wrongful conviction that was ultimately overturned by the 1st U.S.
    Circuit Court of Appeals.

                       COUNT II – 42 U.S.C. §1983
               PROCEDURAL AND SUBSTANTIVE DUE PROCESS

90. The Plaintiffs repeats, realleges, and incorporates by reference the allegations contained
    in the above paragraphs as if expressly set forth herein.

91. Mr. O’Brien, by statute, was provided lifetime employment as the Commissioner of
    Probation and, therefore, was not an at-will employee, had a clear expectation of
    continuity in his employment, and had a property interest in the position.

92. The Defendant, Judge Mulligan knew of Mr. O’Brien’s lifetime employment because
    when Commonwealth Magazine asked him about it, he responded that it was a “unique
    situation in the court system”.

93. The co-chair of the Massachusetts Senate Judiciary Committee described to the Boston
    Globe how the Senate saw Mr. O’Brien as having a “lifetime appointment” under M.G.L.
    ch. 276 s.98.


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94. Ms. Tavares was appointed as Deputy Commissioner of Probation by statute and could
    only be removed from the position for cause pursuant to the applicable Trial Court
    Policies and Procedures Manual and as a result had a property interest in the position.

95. The Defendant, acting under the color of law in his position as CJAM, knowingly
    deprived Mr. O’Brien of his due process rights and property interest in the position of
    Commissioner of Probation, which he was expressly provided by statute, when he
    communicated his decision to terminate Mr. O’Brien in the November 2010 SJC
    Statement before Mr. O’Brien was provided a disciplinary hearing.

96. The Defendant, acting under the color of law in his position as CJAM, deprived Ms.
    Tavares of her due process rights and property interest in the position of Deputy
    Commissioner of Probation when he denied her a description of the charges against her,
    denied access to the information necessary for her to respond to the charges and offer a
    defense at the hearing, and denied any information regarding how the hearing was going
    to be conducted. The Defendant further deprived Ms. Tavares of her due process rights
    when he informed her, through counsel prior to the disciplinary hearing, that she would
    be terminated if she appeared at the hearing.

97. The Defendant, as a result of his conduct described above, has shown a reckless or
    callous indifference to the federally protected rights of the Plaintiff. The Defendant’s
    conduct regarding Mr. O’Brien and Ms. Tavares’ employment was arbitrary and
    capricious and a shocking abuse of government power that was not keyed to any
    legitimate government interest, it was solely aimed toward eliminating Mr. O’Brien and
    Ms. Tavares from the Probation Department.

98. The Plaintiffs have suffered monetary and emotional damages, impairment of reputation,
    humiliation, and mental anguish as a result of the Defendants conduct as described above,
    which caused their wrongful conviction that was ultimately overturned by the 1st U.S.
    Circuit Court of Appeals.



                             COUNT III – 42 U.S.C. §1983
                               ABUSE OF PROCESS

99. The Plaintiffs repeats, realleges, and incorporates by reference the allegations contained
    in the above paragraphs as if expressly set forth herein.

100.      Mr. O’Brien, by statute, was provided lifetime employment as the Commissioner
   of Probation and, therefore, was not an at-will employee, had a clear expectation of
   continuity in his employment, and had a property interest in the position.




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101.      The Defendant, Judge Mulligan knew of Mr. O’Brien’s lifetime employment
   because when Commonwealth Magazine asked him about it, he responded that it was a
   “unique situation in the court system”.

102.      The co-chair of the Massachusetts Senate Judiciary Committee described to the
   Boston Globe how the Senate saw Mr. O’Brien as having a “lifetime appointment” under
   M.G.L. ch. 276 s.98.

103.       Ms. Tavares was appointed as Deputy Commissioner of Probation by statute and
   could only be removed from the position for cause pursuant to the applicable Trial Court
   Policies and Procedures Manual and as a result had a property interest in the position.


104.       The Defendant, through his conduct as described in detailed above, caused the
   federal indictment and wrongful conviction of the Plaintiffs in federal court.

105.       The Defendant, as shown by his conduct described above, was acting with the
   ulterior motive and illegitimate purpose, confirmed by Judge Johnson, of targeting the
   Plaintiffs for removal from the Probation Department and using the well-known practice
   of patronage to do it; of having Ronald Corbett appointed as Acting Commissioner; and
   of having the hiring authority for Probation Department employees returned to the
   CJAM. Nothing in the Defendant’s conduct evidences a good-faith intent to eradicate
   patronage hiring anywhere else in the Trial Court or state government. To the contrary,
   the Defendant’s conduct shows he intended to initiate a criminal investigation in order to
   have the Plaintiffs, and only the plaintiffs, removed from their positions and indicted for
   federal crimes, which led to the Plaintiffs’ wrongful conviction in an attempt at self-
   engrandizement.

106.       The Plaintiffs have suffered monetary and emotional damages, impairment of
   reputation, humiliation, and mental anguish as a result of the Defendants conduct as
   described above, which caused their wrongful conviction that was ultimately overturned
   by the 1st U.S. Circuit Court of Appeals.

   WHEREFORE, the Plaintiffs request that this Honorable Court enter the following:

       1. Judgement in favor of the Plaintiffs on Count I and award compensatory damages,
          punitive damages, interest, and attorney’s fees and expenses;

       2. Judgement in favor of the Plaintiffs on Count II and award compensatory
          damages, punitive damages, interest, and attorney’s fees and expenses;

       3. Judgement in favor of the Plaintiffs on Count III and aware compensatory
          damages, interest, and attorney’s fees and expenses.




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                      THE PLAINTIFFS CLAIM TRIAL BY JURY.



                                           Respectfully submitted,
                                           John J. O’Brien and
                                           Elizabeth Tavares,
                                           By their attorney,


                                           ____/s/ Paul K. Flavin_______________
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Dated: 6/28/19

                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the CM/ECF system will be sent electronically
                      to the registered participants as identified on the NEF.

                          ____/s/ Paul K. Flavin_______________




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